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   B 261C (12/09)

                    UNITED STATES BANKRUPTCY COURT
                                                  for the
                                       Southern District of New York


   In re:                                             )
                                                      )
   Runway Liquidation Holdings, LLC,                  )
   et al.                                             )                Case No. 17-B-10466 (SCC)
                     Debtor                           )
                                                      )
   Runway Liquidation, LLC and David                  )
   MacGreevey, in his capacity as Plan                )                Chapter 11
   Administrator                                      )
                     Plaintiffs                       )
                                                      )
                     v.                               )                Adv. Proc. No. 17-1101 (SCC)
                                                      )
   NYAM LLC                                           )
                     Defendant                        )
                                                                          BC 19,0013

                           JUDGMENT IN AN ADVERSARY PROCEEDING

   The court has ordered:

   Judgment is entered against NYAM in the amount of $675,000.00 plus interest at the
   federal judgment rate from the date when such judgment becomes final and non‐
   appealable, until paid in full.


   Date: March 14, 2019                                                Vito Genna
                                                                       Clerk of Court


                                                                       /s/ Anatin Rouzeau
                                                                        Deputy Clerk
